     Case 4:20-cv-05146-YGR           Document 859       Filed 09/01/22     Page 1 of 8




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
 2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
    Sara Jenkins (CA Bar No. 230097)       Teuta Fani (admitted pro hac vice)
 3 sarajenkins@quinnemanuel.com            teutafani@quinnemanuel.com
    555 Twin Dolphin Drive, 5th Floor      191 N. Wacker Drive, Suite 2700
 4 Redwood Shores, CA 94065                Chicago, IL 60606
    Telephone: (650) 801-5000              Telephone: (312) 705-7400
 5 Facsimile: (650) 801-5100               Facsimile: (312) 705-7401

 6   Stephen A. Broome (CA Bar No. 314605)               Josef Ansorge (admitted pro hac vice)
     stephenbroome@quinnemanuel.com                      josefansorge@quinnemanuel.com
 7   Viola Trebicka (CA Bar No. 269526)                  Xi (“Tracy”) Gao (CA Bar No. 326266)
     violatrebicka@quinnemanuel.com                      tracygao@quinnemanuel.com
 8   Crystal Nix-Hines (CA Bar No. 326971)               Carl Spilly (admitted pro hac vice)
     crystalnixhines@quinnemanuel.com                    carlspilly@quinnemanuel.com
 9   Alyssa G. Olson (CA Bar No. 305705)                 1300 I Street NW, Suite 900
     alyolson@quinnemanuel.com                           Washington D.C., 20005
10   865 S. Figueroa Street, 10th Floor                  Telephone: (202) 538-8000
     Los Angeles, CA 90017                               Facsimile: (202) 538-8100
11   Telephone: (213) 443-3000
     Facsimile: (213) 443-3100
12
     Jomaire Crawford (admitted pro hac vice)            Jonathan Tse (CA Bar No. 305468)
13   jomairecrawford@quinnemanuel.com                    jonathantse@quinnemanuel.com
     51 Madison Avenue, 22nd Floor                       50 California Street, 22nd Floor
14   New York, NY 10010                                  San Francisco, CA 94111
     Telephone: (212) 849-7000                           Telephone: (415) 875-6600
15   Facsimile: (212) 849-7100                           Facsimile: (415) 875-6700

16   Counsel for Defendant Google LLC

17

18                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
19                                   OAKLAND DIVISION

20   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,
21                                                       Case No. 4:20-cv-05146-YGR-SVK
                            Plaintiffs,
22                                                       GOOGLE LLC’S OPPOSITION TO
                                                         PLAINTIFFS’ MOTION FOR LEAVE
                -v-
23                                                       TO SUPPLEMENT THE BRIEFING
                                                         REGARDING REMEDIES
     GOOGLE LLC,
24
                            Defendant.                   The Honorable Yvonne Gonzalez Rogers
25

26
27

28
                                                                          Case No. 4:20-cv-05146-YGR-SVK
                                                        GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                     LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
         Case 4:20-cv-05146-YGR         Document 859         Filed 09/01/22     Page 2 of 8




 1 I.        INTRODUCTION

 2           The Court just admonished the parties: “If I want briefing or if I want additional argument, I

 3 promise you I will let you know.” Aug. 26, 2022 Hearing Tr. at 70:25-71:3. Nevertheless, under the

 4 guise of “enhanc[ing] judicial efficiency,” Plaintiffs seek twenty additional pages of briefing to rehash

 5 arguments concerning equitable relief for legal claims—a topic Plaintiffs admit the parties already

 6 briefed in “at least ten separate class certification and Daubert briefs.” See Mot. 3-4. More briefing

 7 will only waste judicial resources. Plaintiffs’ motion for leave to file a supplemental brief (the

 8 “Motion”) should be denied as procedurally improper, without good cause, and untimely. The Motion

 9 is nothing more than an attempt to shore up their position on an issue that has already been extensively

10 litigated, but on which Plaintiffs feel vulnerable after the Court’s comments at the August 26 hearing.

11 That is no basis for seeking supplemental briefing.

12 II.       BACKGROUND

13           On October 14, 2021, Plaintiffs filed their motion for class certification (the “Class

14 Certification Motion”), seeking, among other remedies, restitution and unjust enrichment. Dkt. 339-

15 4 at 20-22. That same day, Plaintiffs filed the report of Dr. Russell Mangum, which dealt with

16 calculation of restitution and unjust enrichment. See generally Dtk. 339-18. On December 22, 2021,

17 Google filed its opposition to the Class Certification Motion and a motion to strike the opinions of

18 Dr. Mangum (the “Daubert Motion”), arguing, among other things, that restitution and unjust

19 enrichment are unavailable for Plaintiffs’ claims. See Dkt. 429 at 20-22; Dkt. 427 at 8-14.1 Plaintiffs

20 filed their reply in support of the Class Certification Motion and an opposition to the Daubert Motion

21 on February 16, 2022, addressing these arguments. See Dkt. 482-3 at 13; Dkt. 485-3 at 9-13. Google

22 filed its reply in support of the Daubert Motion on March 16, 2022, again addressing the issue of

23 unavailable remedies. See Dkt. 572-4 at 2-7. In the nearly five months since briefing of the Class

24 Certification and Daubert Motions concluded, Plaintiffs did not seek to supplement their arguments

25 relating to remedies.

26
27   1
     Plaintiffs argue that the question of available damages is not outcome-determinative to the Motion
   for Class Certification. Mot. 1. Google disagrees for the reasons stated in its opposition to the Class
28 Certification Motion and the Daubert Motion. See Dkt. 429 at 20-22; Dkt. 427 at 8-14.
                                                       -1-                 Case No. 4:20-cv-05146-YGR-SVK
                                                         GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                      LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
      Case 4:20-cv-05146-YGR           Document 859          Filed 09/01/22     Page 3 of 8




 1          During the August 26 hearing on these motions, Plaintiffs raised, for the first time, a thirty-

 2 six year old opinion—Landsberg v. Scrabble Crossword Game Players, Inc., 802 F.2d 1193 (9th Cir.

 3 1986)—as their “best case” for the proposition that unjust enrichment is an available remedy for

 4 breach of contract. Aug. 26, 2022 Hearing Tr. 48:8-17. The Court then made expressly clear that she

 5 would advise the parties if further briefing was needed. Id. 70:25-71:3 (“If I want briefing or if I want

 6 additional argument, I promise you I will let you know.”)

 7          Ignoring this guidance, Plaintiffs seek leave to file supplemental briefing regarding the

 8 availability of restitution and unjust enrichment. Despite conceding that both parties have addressed

 9 this issue in ten prior submissions (Mot. 3-4), Plaintiffs propose that each party individually and

10 simultaneously files ten pages of additional briefing. Dkt. 855-2.

11 III.     ARGUMENT

12          A.      The Motion Is Procedurally Improper

13          Plaintiffs improperly bring the Motion pursuant to Local Rule 7-3(d), which provides that

14 “[o]nce a reply is filed, no additional memoranda, papers or letters may be filed without prior Court

15 approval, except as follows: (1) Objection to Reply Evidence [and] (2) Before the noticed hearing

16 date…a Statement of Recent Decision.” Civil L.R. 7-3(d). Plaintiffs’ request for additional briefing

17 does not fall under either of these exceptions because it is neither an objection to reply evidence nor

18 a statement of recent decision (the cases Plaintiffs propose to address are between four and thirty-six

19 years old).2 Nor does Rule 7-3 provide a mechanism for obtaining leave to file any supplemental

20 materials, much less supplemental briefing. See Michael Taylor Designs, Inc. v. Travelers Property

21 Casualty Co. of America, 761 F. Supp. 2d 904, 909 (N.D. Cal. 2011) (holding that Rule 7–3 does not

22
   2
     Even if the Court were inclined to construe the Motion as seeking leave to file a statement of recent
23 decision, it should be denied as prejudicial to Google because the authorities Plaintiffs raise at the
   eleventh hour are not “recent” decisions at all. The Landsberg and Hickcox-Huffman v. US Airways,
24 Inc., 855 F.3d 1057, 1065 (9th Cir. 2017) decisions came out over thirty-six years ago and four years
   ago, respectively. Neither decision is “on-point” or “highly persuasive.” Michael Taylor Design Inc.,
25 761 F.Supp.2d at *909 (setting forth criteria for granting leave to submit new authorities post-
   hearing). Landsberg involved an implied in fact contract that the court found implicitly bound
26 defendant to pay the “reasonable value of the material disclosed.” 802 F.2d at 1196. Plaintiffs cannot
   point to any implicit promise by Google to pay them anything. Hickcox-Huffman involved a class
27 action where the plaintiff paid U.S. Airways $15 for a checked bag and claimed that she was due a
   full refund when her bag did not timely arrive. 855 F.3d at 1065. Here, Plaintiffs paid nothing to use
28 Chrome and are not seeking a refund but rather Google’s profits. See Dkt. 427 at 6, 11.
                                                       -2-                 Case No. 4:20-cv-05146-YGR-SVK
                                                         GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                      LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
         Case 4:20-cv-05146-YGR          Document 859          Filed 09/01/22      Page 4 of 8




 1 “govern the procedure for obtaining [] court approval” to file supplemental materials); Moore v.

 2 Verizon Commc’ns Inc., 2013 WL 450365, at *4 (N.D. Cal. Feb. 5, 2013) (acknowledging that request

 3 for leave to file supplemental brief did not fall under Rule 7-3(d) and denying leave); In re Wachovia

 4 Corp. "Pick-A-Payment" Mortg. Mktg. & Sales Pracs. Litig. 2013 WL 5424963, at *15 (N.D. Cal.

 5 Sept. 25, 2013) (explaining that post-hearing motion for leave to submit additional evidence “properly

 6 should have been presented as motion for administrative relief pursuant to Civil Local Rule 7–11”

 7 and denying leave).3 The Court may deny the Motion on the basis that it is procedurally improper

 8 alone. See e.g. Johnson v. United States, 2014 WL 2750275, at *1 (N.D. Cal. June 11, 2014).

 9           B.      The Motion Does Not Establish Good Cause

10           The Court may also deny the Motion because Plaintiffs have plainly not established good

11 cause for burdening the Court with additional briefing, particularly considering the Court’s direction

12 that the parties not supplement the record unless and until directed to do so. See Moore, 2013 WL

13 450365, at *4 (denying motion for leave to file supplemental brief where no good cause established).

14 Plaintiffs concede that both parties have extensively argued this issue in the briefing on the Class

15 Certification and Daubert Motions, which the Court has already reviewed. Mot. 2 (citing Dkts. 427,

16 429, 484, 486, 573). Both parties had the opportunity to fully present their respective positions—any

17 supplemental briefing would be wasteful.

18           Plaintiffs’ rationale fails to establish good cause:

19           First, Plaintiffs’ late discovery of cases that they could have included in the Class Certification

20 Motion and Daubert Motion briefing (but failed to) is the opposite of good cause. And, their argument

21 that each party cited to cases not previously included in their submissions during the August 26

22 hearing mischaracterizes the record. As it relates to restitution and unjust enrichment, the remedies

23 subject to their Motion, only Plaintiffs raised thirty-six year old authority found nowhere in their

24 briefs. Aug. 26, 2022 Hearing Tr. 48:8-17 (discussing Landsberg). They provided no justification at

25 the hearing, or in the Motion, for why they failed to cite their “best case” in their briefs. In contrast,

26
27   3
     The Motion should have been brought pursuant to Civil Local Rule 7-11, which provides that an
   administrative motion is deemed submitted the day after the opposition is due and does not allow
28 reply briefs. L.R. 7-11.
                                                         -3-                 Case No. 4:20-cv-05146-YGR-SVK
                                                           GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                        LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
         Case 4:20-cv-05146-YGR         Document 859         Filed 09/01/22     Page 5 of 8




 1 Google did not present any judicial opinions regarding restitution or unjust enrichment not referenced

 2 in its briefs. See Id. 50:9-19 (referring to two cases “cited in [Google’s] papers”).4 The Motion also

 3 references Hickcox-Huffman v. US Airways, Inc., 855 F.3d 1057, 1065 (9th Cir. 2017) as “another

 4 Ninth Circuit decision allowing unjust enrichment for breach of contract,” without any explanation

 5 for why Plaintiffs did not include the four-year-old decision in their original briefs. See Mot. 3.

 6 Simply put, Plaintiffs’ failure to timely cite these authorities—intentional or not—does not warrant

 7 twenty additional pages of briefing between the parties. Indeed, the Local Rules exist to prevent such

 8 endless cycles of filings. See Michael Taylor Designs, Inc., 761 F. Supp. at 909 (“The local rules are

 9 structured to deter an endless cycle of filings and counter-filings while preserving the Court’s ability

10 to render a decision that is fully-informed by any particularly germane legal authority that may

11 emerge.”).

12           Second, Plaintiffs claim that they have a “live equitable claim for quasi-contract” that is not

13 currently before the Court (Mot. 3).5 Plaintiffs fail to explain why a claim not before this Court

14 justifies supplemental briefing on the issue of whether restitution and unjust enrichment are available

15 remedies for the six claims that are currently under the Court’s consideration for class certification.

16 The parties have been operating under Judge Koh’s orders that only the claims currently before this

17 Court will be litigated through trial. See Dkt. 51 at 1-2; Dkt. 142. Rather than demonstrate good cause,

18 including arguments about unrelated claims at this stage would only confuse the record.

19           Third, Plaintiffs’ claim that supplemental briefing would “likely ensure consistent rulings” in

20 this case and the related Brown action strains credulity. It is unclear how allowing Calhoun Plaintiffs

21 to have ten pages of supplemental briefing would affect the determination of legal issues in Brown.

22 While it is true that Brown involves some overlapping claims, the remedies available have been fully

23

24
     4
     When the Court asked about nominal damages, Google pointed to Siino v. Foresters Life Ins. &
25 Annuity Co., 340 F.R.D. 157, 164 (N.D. Cal. 2022). Aug. 26 Hearing Tr. 54:10-55:3. Google did not
   have an opportunity to cite that decision in its papers because it post-dated Google’s opposition to
26 the Class Certification Motion.
   5
     Plaintiffs’ argument also mischaracterizes the law; it is well-settled that Plaintiffs cannot pursue
27 breach of express contract and breach of quasi-contract claims together. See e.g. Wright v. Charles
   Schwab & Co., 2020 WL 6822887, at *4 (N.D. Cal. Nov. 20, 2020) (“[U]njust enrichment is an action
28 in quasi-contract, which does not lie when an enforceable, binding agreement exists….”) (quoting
   Paracor Fin., Inc. v. Gen. Elec. Cap. Corp., 96 F.3d 1151, 1167 (9th Cir. 1996))..
                                                       -4-                  Case No. 4:20-cv-05146-YGR-SVK
                                                          GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                       LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
         Case 4:20-cv-05146-YGR         Document 859          Filed 09/01/22     Page 6 of 8




 1 briefed in that case as they have here. There is no reason to doubt the Court is capable of consistently

 2 resolving similar legal issues across both cases. Nor would burdening the Court with more briefing

 3 and argument “enhance judicial efficiency,” as Plaintiffs claim. Mot. 3-4. Quite the opposite. The

 4 Court has already admonished the parties to be judicious about unnecessary submissions, such as the

 5 ones requested here, because the Court is in a “judicial emergency.” Feb. 11, 2022 Hearing Tr. 32.

 6           In short, Plaintiffs have provided no valid reason, much less good cause, for supplemental

 7 briefing on a discrete issue that has already been extensively addressed in previous briefs.

 8           C.     The Motion Is Untimely and Granting Leave Would Prejudice Google.

 9           The Court should also deny the Motion as untimely and prejudicial. Intentional or not,

10 Plaintiffs waited nearly seven months after the filing of their reply in support of the Class Certification

11 Motion and their opposition to the Daubert Motion to seek leave for supplemental briefing. See supra

12 1. Plaintiffs’ Motion also comes after the Court has already heard oral argument on both the Class

13 Certification and Daubert Motions. And the cases Plaintiffs seek to bring to the Court’s attention,

14 which they did not share with Google’s counsel prior to the August 26 hearing, are not new, see supra

15 3-4. Plaintiffs provide no excuse for this delay.

16           Granting Plaintiffs’ untimely motion and permitting them another bite at the apple on arguing

17 availability of restitution and unjust enrichment would prejudice Google. Rehashing old arguments

18 or introducing and responding to new ones at this stage would cause Google to expend unnecessary

19 time and resources. Beyond that, Plaintiffs’ proposal that the parties simultaneously file separate

20 supplemental briefs (Dkt. 855-2) would deprive Google of the ability to reply to Plaintiffs’ new

21 arguments. This would be extremely prejudicial. Google is not the party seeking to supplement

22 briefing so there is no point in Google filing a brief unless it is to respond to the arguments Plaintiffs

23 raise in their brief.6

24                                              CONCLUSION

25           The Court should deny Plaintiffs’ Motion and decline leave to file a supplemental brief.

26
27   6
     To the extent the Court intends to grant the Motion, Google respectfully requests that the
   supplemental briefs be no more than three pages and that Google’s deadline for filing such a brief be
28 one week after Plaintiffs submit their supplemental brief.
                                                        -5-                 Case No. 4:20-cv-05146-YGR-SVK
                                                          GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                       LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
     Case 4:20-cv-05146-YGR   Document 859       Filed 09/01/22    Page 7 of 8




 1 DATED: September 1, 2022          QUINN EMANUEL URQUHART &
                                     SULLIVAN, LLP
 2
                                      By     /s/ Andrew H. Schapiro
 3                                           Andrew H. Schapiro (admitted pro hac vice)
                                             andrewschapiro@quinnemanuel.com
 4
                                             191 N. Wacker Drive, Suite 2700
 5                                           Chicago, IL 60606
                                             Telephone: (312) 705-7400
 6                                           Facsimile: (312) 705-7401
 7                                           Stephen A. Broome (CA Bar No. 314605)
                                             stephenbroome@quinnemanuel.com
 8
                                             Viola Trebicka (CA Bar No. 269526)
 9                                           violatrebicka@quinnemanuel.com
                                             Crystal Nix-Hines (CA Bar No. 326971)
10                                           crystalnixhines@quinnemanuel.com
                                             Marie Hayrapetian (CA Bar No. 315797)
11                                           mariehayrapetian@quinnemanuel.com
                                             865 S. Figueroa Street, 10th Floor
12
                                             Los Angeles, CA 90017
13                                           Telephone: (213) 443-3000
                                             Facsimile: (213) 443-3100
14
                                             Diane M. Doolittle (CA Bar No. 142046)
15                                           dianedoolittle@quinnemanuel.com
                                             555 Twin Dolphin Drive, 5th Floor
16                                           Redwood Shores, CA 94065
                                             Telephone: (650) 801-5000
17
                                             Facsimile: (650) 801-5100
18
                                             Josef Ansorge (admitted pro hac vice)
19                                           josefansorge@quinnemanuel.com
                                             1300 I. Street, N.W., Suite 900
20                                           Washington, D.C. 20005
                                             Telephone: 202-538-8000
21                                           Facsimile: 202-538-8100
22                                           Jomaire A. Crawford (admitted pro hac vice)
23                                           jomairecrawford@quinnemanuel.com
                                             51 Madison Avenue, 22nd Floor
24                                           New York, NY 10010
                                             Telephone: (212) 849-7000
25                                           Facsimile: (212) 849-7100
26                                           Jonathan Tse (CA Bar No. 305468)
27                                           jonathantse@quinnemanuel.com
                                             50 California Street, 22nd Floor
28                                           San Francisco, CA 94111
                                           -6-                  Case No. 4:20-cv-05146-YGR-SVK
                                              GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                           LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
     Case 4:20-cv-05146-YGR   Document 859     Filed 09/01/22   Page 8 of 8




 1                                         Telephone: (415) 875-6600
                                           Facsimile: (415) 875-6700
 2                                    Attorneys for Defendant Google LLC
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                         -7-                 Case No. 4:20-cv-05146-YGR-SVK
                                           GOOGLE LLC’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                        LEAVE TO SUPPLEMENT THE BRIEFING REGARDING REMEDIES
